Case 2:07-cr-00168-DSF Document 252 Filed 05/14/08 Page 1 of 9 Page ID #:2274



 I   SEAN K. KENNDY (No. 145632)
     Federal Public Defender
2    (E-mail: SeaIennedy§fd.org)
     CARLTON F. GUN (No. 112344)
3    DeputY Federal Public Defender
4    (E-mail: Carlton Gunn~fd.org)
     CHAES C. BROWN~o. 179365)
 5
     DeputY Federal Public Defender
     (E-mail: Charles_ Brown~fd.org)
 6   321 East 2nd Street
     Los Angeles, California 90012-4202
 7   Telephone (213) 894-1700
     Facsimile (213) 894-0081
 8
     Attorneys for Defendant
 9   MICHAEL PEPE
10

11
                                          UNITED STATES DISTRCT COURT

12
                                       CENTRAL DISTRICT OF CALIFORNIA
                                                             WESTERN DIVISION
13

14
     UNITED STATES OF AMERICA,                                       NO. CR 07-168-DSF
15

16
                                  Plaintiff,
                                                                     RESPONSE TO GOVERNMENT'S
                      v.                                             RESPONSE TO DEFENDANT'S
17                                                                   MEMORANDUM OF POINTS
     MICHAEL PEPE,                                                   AND AUTHORITIES RE:
18                                                                   OBJECTIONS MADE DURING
                                   Defendant.                        THE DEPOSITION TESTIMONY
19                                                                   OF DEFENSE WITNESS KOEUNG
                                                                     LANG
20
21
22         Defendant, Michael Pepe, through his counsel of                      record, Deputy Federal Public
23   Defender Carlton F. Gunn and Deputy Federal Public Defender Charles C. Brown,
24   hereby responds to the Government's Response to Defendant's Memorandum of
25   Points and Authorities re: Objections Made During the Deposition Testimony of
26 Defense Witness Koeung Lang. This response is based on the attached memorandum
27 III
28 III
Case 2:07-cr-00168-DSF Document 252 Filed 05/14/08 Page 2 of 9 Page ID #:2275



 I of points and authorities, all fies and records in this case, and such additional

 2 argument as may be presented to the Court.
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 4
                                              Respectfully submitted,
 5
                                              SEAN K. KENNDY
 6                                            Federal Public Defender
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 8
      DATED: May -t, 2008                  By ~~r4
                                              CARTON F. GUN
 9
                                              Deputy Federal Public Defender

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i i
      DATED: May -t, 2008                  By ~~ C. hlA cr4
12                                            CHAES c. BROWN
                                              Deputy Federal Public Defender
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Case 2:07-cr-00168-DSF Document 252 Filed 05/14/08 Page 3 of 9 Page ID #:2276



  1                                 MEMORANDUM OF POINTS AND AUTHORITIES
 2

 3      A. RESPONSE TO GOVERNENT'S RESPONSE TO DEFENSE
 4      OBJECTIONS.
 5

 6                  As to most of             the defense objections, the defense will rest on the explanation of
 7      its objections in its prior briefing, but two arguments made by the government do
  8     warrant a response. First, the government's arguments made in response to the
 9      defense objections to RT 58:15-25, RT 66:5-17, and RT 70:13-78:20 - that
10      information concerning a witness's interest and motive to lie and/or participate the
1I      manufacturing of evidence - begs the question of how this testimony shows those
12      things. The defense submits that the testimony does not show that this witness had an
13      interest and/or motive to lie or participated in the manufacturing of evidence. With
14      respect to the latter, the witness seems to be complaining that the letter which was
15      created is not what she intended, though her concern appears to be more with
16      appearing litigious than with her view of                  Mr. Pepe being mischaracterized.
17

18 Similarly, the government's response to the defense objection to RT 60:3-6, 20-
19 24 that the witness's response shows that she was in the same prison as Sang begs the
20 question. Just because the witness and Sang were in the same prison does not mean

21 the witness has personal knowledge about everyhing Sang did or everyone Sang had

22 contact with. It is equally possible that there was contact that the witness was not
23 aware of except for being told by Sang, which would be knowledge that was not
24 personal knowledge but the product of                         hearsay.
25 III
26 III
27 III
28 III

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Case 2:07-cr-00168-DSF Document 252 Filed 05/14/08 Page 4 of 9 Page ID #:2277



 1 B.      RESPONSE TO GOVERNNT OBJECTIONS.
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 3 Government's Objection to RT 7:17-8:8:
 4
 5         This testimony should not be stricken as hearsay. It was not offered for the
 6   truth. i The defense does not object to a limiting instruction. Further, the testimony
 7   was responsive to the question asked, and, in any event, the governent never made
 8   an objection based on non-responsiveness.
 9
10 Government's Objections to RT 8:17-24.8:25-9:3:
11

12         The defense does not object to the striking of       this testimony.
13

14 Governent's Obiection to RT 9:14-21:
15

16         This testimony, like the testimony at RT 7: i 7-8:8, should not be stricken as
17   hearsay, because it was not offered for the truth. As with the preceding testimony, the
18   defense does not object to a limiting instruction. Also as with the preceding
19   testimony, the testimony was responsive to the question asked, and, again, the
20 government never made an objection based on non-responsiveness.
21
22 Government's Objection to RT 9:22-10:3:
23
24 The question here does not call for speculation, but is an inquiry into what
25 Sang was saying Michael would do. The answer is responsive to that inquiry.
26 III
27
28 i The transcript indicates that it is the prosecutor who stated, "Not offered for
     the truth," but in fact it was defense counseL.
                                                            4
Case 2:07-cr-00168-DSF Document 252 Filed 05/14/08 Page 5 of 9 Page ID #:2278



 I Government's Obiection to RT 10:26-11:15:

 2
 3         The defense does not object to striking of all of         the testimony up to RT I I: 1 O.
 4   The testimony from RT 11: 1 0 through RT 11: 15 should remain so as to give context
 5   to the question that follows at line 16.
 6
 7 Governent's Obiection to RT 12:14-19:
 8

 9         The testimony given here is responsive to the question asked. The question is
10   whether the daughters in fact went to school, and the answer is that they went to
11   school with photos and family IDs.
12

13 Government's Obiection to RT 13: 12-16:
14

15         The government's hearsay objection to this testimony is not well taken,
16   because the testimony given - consistent with what the defense expected - is about
17   what the witnesses's daughter did not say. This is not hearsay, but relevant
18   circumstantial evidence, because a girl who is being abused could reasonably be
19   expected to say something to her mother. The defense realizes the government wil
20 argue differently, but that is a matter for argument, not exclusion of evidence.
21
22 Government's Obiection to RT 13:17-19:
23
24         The defense does not object to the striking of          this testimony.
25 III
26 III
27 III
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Case 2:07-cr-00168-DSF Document 252 Filed 05/14/08 Page 6 of 9 Page ID #:2279



 I Government's Obiection to RT 13:20-23:

 2
 3              The testimony which the government seeks to strike through this objection is
 4   not non-responsive. It explains the witness's answer of               "No."
 5

 6 Government's Objection to RT 15:11-13:
 7

 8              The testimony which the government seeks to strike through this objection is
 9   not non-responsive. It explains the witness's answer of               "No."
10
11 Government's Obiection to RT 15:14-18:
12

13               The defense does not object to the striking of        this testimony.
14
15 Governent's Obiections to RT 16:7-11. 12-14:
16
17               The government did not object to this testimony as non-responsive at the time
18   of   the deposition, and it should not be allowed to raise that objection for the first time
19   now. The testimony therefore should stand.
20
21 Government's Obiection to RT 16:20-23:
22
23               The question here, while leading to some extent, is permissible given that the
24 witness was having trouble focusing on the exact question asked. Leading in these
25   circumstances was helpful to give the witness an idea of              the sort of   thing defense
26   counsel was asking about. That the witness did not not simply accede to the example
27   suggested in the question is made clear by her rejection of              the example, to wit, her
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Case 2:07-cr-00168-DSF Document 252 Filed 05/14/08 Page 7 of 9 Page ID #:2280



 1 statement that the officers did not bang on the table but did other things instead.
 2
 3 Government's Objection to RT 29:20-25:
 4
 5              The defense does not object to the striking of                  this testimony.
 6
 7 Governent's Obiection to RT 33:18-19.22-24:
 8

 9               The defense does not object to the striking of                 this testimony, except for the
10   answer, "No," at line 23. This part of                       the answer is responsive to the question, "Did
11   you see rope inside the defendant's house?"
12
13 Governent's Obiection to RT 35:15-20:
14
15               The governent did not object to this testimony as non-responsive at the time
16   of   the deposition, and it should not be allowed to raise that objection for the first time
17   now. The testimony therefore should stand.
18

19 Governent's Obiection to RT 38:24-39:2:
20
21               The additional testimony after "I did not say that," is not non-responsive but
22 explains the answer. The testimony should remain.
23
24 Government's Obiection to RT 38:24-39:2:
25
26 The additional testimony after "I didn't know why," is not non-responsive but
27 explains the answer. The testimony should remain.
28
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Case 2:07-cr-00168-DSF Document 252 Filed 05/14/08 Page 8 of 9 Page ID #:2281



 I Government's Obiections to RT 53:16-21. 54:3-7. 60:9-20:
 2

 3         The defense does not object to the striking of                       this testimony.
 4
 5 Government's Objection to RT 80:20-81:1:
 6
 7         The additional testimony after "Yes, I spoke to them," is not non-responsive
 8   but explains the answer. The testimony should remain.
 9
10 Government's Obiection to RT 82:22-83:5:
11

12         The additional testimony after "It's hard to say," is not non-responsive but
13   explains why it is hard to say. Further, the prosecutor did not make an objection on
14   the grounds of non-responsiveness, which prevented the defense from asking an
15   additional question to which the answer would have been more clearly responsive if
16   that were necessary. The testimony should therefore remain.
17

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Case 2:07-cr-00168-DSF Document 252 Filed 05/14/08 Page 9 of 9 Page ID #:2282



 I Government's Obiection to RT 85:17-86:1:

 2
 3              The defense does not object to the striking of               this testimony.
 4
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                                                                  Respectfully submitted,
 6
                                                                  SEAN K. KENNDY
 7                                                                Federal Public Defender
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     DATED: May iL, 2008                                         By~    f:   A
                                                                  CARLTON F. GUN
10                                                                Deputy Federal Public Defender

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     DATED: May lL, 2008                                         By ~ c ~Y1(cif d-Æ_
13                                                                CHARLES C. BROWN
                                                                  Deputy Federal Public Defender
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